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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
                                              )       Case No. 3:19cr130
                                              )
OKELLO T. CHATRIE,                            )
          Defendant                           )

                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Okello Chatrie, through counsel, hereby advises the Court of new authority regarding the

unconstitutionality of “geofence warrants.” In Commonwealth v. Fleischmann, a Massachusetts

trial court held that a geofence warrant was overbroad and suppressed the fruits of the search under

the Fourth Amendment and the Massachusetts Declaration of Rights. See Ex. A, Memorandum of

Decision and Order on Defendant’s Motion to Suppress Search Warrant, Commonwealth v.

Fleischmann, No. 2072CR00046 (Ma. Sup. Ct. Aug. 31, 2021).

       Fleischmann involved a geofence warrant issued to Google in connection with a home

invasion investigation. Step 1 sought “anonymized” Location History data for two locations over

the course of two hours: (1) 50 meters around the home and (2) 100 meters around another location

of unexplained significance. See id. at 3-4, 11 n.7. Step 2 authorized the police to unilaterally

request additional location data outside of the geofences for devices “deemed relevant.” Id. at 4.

And for those devices, the warrant further authorized police to obtain various types of subscriber

information identifying the account holders as well as six months of internet protocol (“IP”)

address history. Id.

       The court first determined that Fleischmann had standing to challenge evidence obtained

from an “improper ‘general’ warrant.” Id. at 7-8. It then found that the “third-party doctrine” does

not apply and that a warrant is required to access Google location data. Although Massachusetts



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has a “safe harbor rule” that does not require a warrant for six hours or less of “telephone call

location data,” the court found that rule inapplicable. Id. at 8. The court reasoned that Google

location data is different from “telephone call location data,” which only records device location

when the user makes or receives a phone call. Id. By contrast, the court noted that Google data “is

collected continually, regardless of whether a user is actively making or receiving a phone call, as

long as a Google-related application exists on their cellular phone.” Id. at 9. The court also relied

on the warrant’s authorization for six months of IP address information, which “can be used to

determine location data.” Id. at 10. The court similarly distinguished the six days at issue in

Carpenter v. United States, 138 S. Ct. 2206, 2217-2220 (2018). Id.

       Finally, the court determined that the geofence warrant was overbroad under the Fourth

Amendment and Article 14 of the Massachusetts Declaration of Rights. Id. at 10-11. The court

noted that “the initial inquiry appeared narrowly tailored; the warrant was curtailed to a two hour

window, with an arguably specific radius to the scene of the crime,” but determined that this was

“not the limit of what the warrant authorized.” Id. at 11. The court was particularly concerned with

the discretion afforded to police in Step 2, allowing them to request additional location data and

subscriber information without judicial oversight. 1 Moreover, the court recognized that providing

supposedly “anonymized” data in Step 1 was no cure, because the warrant authorized the police

to obtain this additional data for “any device” identified in the initial dragnet. Id. Consequently,

the court found the warrant overbroad and suppressed the “fruits of the poisonous tree,” including

information about Fleischmann’s device and statements made as a result of the tainted data. Id.




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 Mr. Chatrie makes a similar argument in the context of the warrant’s lack of particularity in
Steps 2 and 3. See, e.g., ECF No. 205 at 37-40.


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       This is the first written state court decision addressing the constitutionality of a geofence

warrant that counsel for Mr. Chatrie is aware of. There remain four federal magistrates who have

also considered geofence warrants, and three have likewise found them unlawful. See In re Search

of Information That Is Stored at the Premises Controlled by Google (“Mitchell Opinion”), No. 21-

MJ-5064, 2021 WL 2401925 (D. Kan. Jun. 4, 2021); In re Search Warrant Application for

Geofence Location Data Stored at Google (“Harjani Opinion”), No. 20 M 525, 2020 WL 6343084

(N.D. Ill. Oct. 29, 2020); In re Information Stored at Premises Controlled by Google (“Fuentes

Opinion”), 481 F. Supp. 3d 730 (N.D. Ill. 2020); In re Information Stored at Premises Controlled

by Google (“Weisman Opinion”), No. 20 M 297, 2020 WL 5491763 (N.D. Ill. July 8, 2020).



                                             Respectfully submitted,
                                             OKELLO T. CHATRIE

                                      By:    ___________/s/____________
                                             Michael W. Price
                                             NY Bar No. 4771697 (pro hac vice)
                                             Counsel for Defendant
                                             National Association of Criminal Defense Lawyers
                                             Fourth Amendment Center
                                             1660 L St. NW, 12th Floor
                                             Washington, D.C. 20036
                                             Ph. (202) 465-7615
                                             Fax (202) 872-8690
                                             mprice@nacdl.org

                                             ___________/s/____________
                                             Laura Koenig
                                             Va. Bar No. 86840
                                             Counsel for Defendant
                                             Office of the Federal Public Defender
                                             701 E Broad Street, Suite 3600
                                             Richmond, VA 23219-1884
                                             Ph. (804) 565-0881
                                             Fax (804) 648-5033
                                             laura_koenig@fd.org




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                                              /s/         .
                                  Paul G. Gill
                                  Va. Bar No. 31461
                                  Counsel for Defendant
                                  Office of the Federal Public Defender
                                  701 E Broad Street, Suite 3600
                                  Richmond, VA 23219-1884
                                  Ph. (804) 565-0870
                                  Fax (804) 648-5033
                                  Paul_gill@fd.org




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